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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


LUVENIA ELVERTON,                           )
                                            )       Civil Action No. 17-cv-02505
               PLAINTIFF,                   )
                                            )       Honorable Judge Harry D. Leinenweber
               v.                           )
                                            )       Magistrate Judge M. David Weisman
PREMIERE CREDIT OF NORTH                    )
AMERICA, LLC,                               )
                                            )
               DEFENDANT.                   )

                RECORD REQUEST PURSUANT TO CIRCUIT RULE 10

       Pursuant to Seventh Circuit Rule 10(a), Plaintiff-Appellant, Luvenia Elverton, hereby

requests that the following briefs and memoranda be included in the record on appeal:

           •   ECF No. 25: November 20, 2017 – Motion by Plaintiff’s Luvenia Elverton for

               summary judgment

           •   ECF No. 26: November 20, 2017 – Memorandum by Luvenia Elverton in support

               of Motion For Summary Judgment

           •   ECF No. 27: November 20, 2017 – Rule 56 Statement of Uncontested Material

               Facts In Support of Plaintiff’s Motion For Summary Judgment.

           •   ECF No. 28: November 20, 2017 – Motion by Defendant Premiere Credit of

               North America, LL for Summary Judgment

           •   ECF No. 29: November 20, 2017 – Memorandum by Premiere Credit of North

               America in support of Motion For Summary Judgment

           •   ECF No. 30: November 20, 2017— Rule 56 Statement by Premiere Credit of

               North America, LLC regarding motion for summary judgment



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         •   ECF No. 33- Memorandum by Premiere Credit of North America In Opposition

             to Motion For Summary Judgment 25 Memorandum of Points & Authorities in

             Opposition to Plaintiff’s Motion For Summary Judgment

         •   ECF No. 34- Response by Premiere Credit of North America, LLC to Rule 56

             statement 27

         •   ECF No. 35-Response by Luvenia Elverton to Motion by Defendant Premiere

             Credit of North America, LLC for summary judgment.

         •   ECF No. 36




                                               Respectfully submitted,


Dated: May 30, 2018                            /s/Celetha C. Chatman
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                                 CERTIFICATE OF SERVICE

       I, the undersigned attorney, hereby certify that on May 30, 2018, a true and accurate copy

of the foregoing was filed with the Clerk of Court for the Northern District of Illinois using the

CM/ECF system which will send notification of such filing to the attorneys of record.


                                                      /s/Celetha C. Chatman
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